                                                                                                          FILED
                                                                                                               AUG 1 7 2016

                                  IN THE UNITED STATES DISTRICT COURT                              n«
                               FOR THE WESTERN DISTRICT OF OKLAHOMA                                           ^
Name:                                                                                                Docket or Case No.:


Charles Alan Dyer                                                  ^          ^                ^ "941                             c
Place of Confinement:                                                              Prisoner No.:
Lexington Assessment and Reception Center, Lexington, OK.                         659682



Name ofPetitioner (include name under which convicted)        Name ofRespondent (aulhorized person having custody ofpetitioner)
CHARLES ALAN DYER                                        v. JIM FARRIS (Warden)


The Attorney Generalof the State of:Oklahoma

                       PETITION FOR WRIT OF HABEAS CORPUS UNDER 28 U.S.C. §2254
   1.    (a) Name and location ofcourt that entered the judgment ofconviction you are challenging:
         Stephens CountvDistrictCourt. Duncan. Oklahoma
         (b) Criminal docket or case number: CF-2010-17


  2.     (a) Date of judgment of conviction: April 19.201?.
        (b) Date of Sentencing: June 5. 2ni?


  3.    Lengthof sentence: 30 vears imprisonment


  4. In this case, were you convicted on more than one count or more than one crime? • Yes. 23 No

  5. Identify all crimes ofwhich you were convicted and sentenced in this case: 3/ Q.S, ffi3. S (E)

  6.    (a) What was your plea?
                                 ^(1) Not guilty              0(3)       Nofo Contendere
                                 • (2) Guilty                 • (4) Insanity plea
        (b) Ifyou entered aguilty plea to one count or charge and not guilty to another count or charge, what did you
        plead guilty to and what did you plead not guilty to? Not Annlicahlp
        (c) Ifyou went to trial, what kind oftrial did you have?

 AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                          Page 1of44
                    ^ Jury • Judge only
  7.     Did you testify al apretrial hearing, trial, ora post-trial hearing?
                       K! Yes       •    No


  8.    Did you appeal from the judgment ofconviction?
                       K Yes        • No


  9.    Ifyou did appeal, answer the following:
        (a) Name ofcourt; Oklahoma Court ofCriminal Appeals
        (b) Docket or case number; No. F-2012-S0<^
        (c) Result: Judgment and sentence affirm^
        (d) Date of result: October^O. 70\-\
        (e) Citation to the case: Not publiciyeH
        (f) Grounds raised; Ground 1: Ineffective assistance oftrial cmintftl                              ,
        Ground 2: Improper admission of character eviHftnrp
        Ground 3: TnM mm med in refitsin^. to permit an evpert wiine^. tn i^.ti{v far the
        (g) Did you seek further review by ahigher state court? • Yes SI No
        Ch) Did you file apetition for certiorari in the United States Supreme Court?         • Yes Kl No
 10. Ofter than ,he direct appeals              above, ha™ you previously filed any other petitions, applications, or
        motions concemmg this judgment of conviction in any state court?             81 Yes      • No
 11. Ifyour answer to Question 10 was "Yes", give the following information:
       (a)       (1) Name of Court: Stephens Cnrnity District rnim
                 (2) Docketor case number: CF-20in.l7
                (3) Date of filing; April 24.7f>u
                (4) Nature ofthe proceeding: Post-conviclinn proceedin^^ imHgr n S fisn
                (5) Grounds raised; Ground 1: InefTective                 ofannellntP fn„nc»i
                (6) Did you receive ahearing where evidence was given on your petition, application, or motion?
                   u    Yes     a       No

                              Application dr^njed bv Orrf.r
                (8) Date ofresuh: Octobers?


       MIfv°u
          you rTd       rT'petition, application, or motion, give the same information: Norannli^H.
              nied any third                                                             HOAwMto
                                                                   ^            -     - -         -     - -       ^
                              K Yes           DNo

AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                          Page 2of44
              Ce) Ifyou did not appeal to the highest state court having jurisdiction, explain why you did not: Not Annlifinhl^
          12. For this petition, stale eveiy ground on which you claim that you are being held in violation of the
                  Constitution, laws, or treaties ofthe United States. Attach additional pages ifyou have more than four grounds.
                  State facts supporting each ground.
          GROUND ONE; rNEFFECTTVR ASSISTANrP OF APPKT.I .ATE COIJNSF.T.
                 (a)         Supporting facts (Do not argue or cite law. Just state the specific facts that support your
              claim):
         FACT: Petitioner .vas dcnicfl effective a.ssistanfe of                    nn .jirect appeal in violation nf
         and 14"- Amendment (Spo Minporting hricf at pgs.l-fi far -rp..nient ami
         '•                      court appointed indigent direct app..Rl counsel pr^pnrH and filed Petitioner'.; Dirfrt
                 Appeal mthe OCCA asserting the follnwing oronositinns of error:
                       Ineffective a.ssistance nftrial cmirKpl

                (2) The court erred in not .iloM-inr Dr. H.nd frnn.                f^r th.
                           courterred in allnwinp improper bad         character

                                                                                     clain^s                   .,.,v
     Presented as lAAC! snh

     II.               III summary opinion nn Dnt         inn .u.vr>r^r..
                                                                 ^   OCCA nn the merit. d^n.»H the app^.n^t,.
    asserted.



                                                                                                            ar.uin.

                                                                                     supplement                             -
    evidentiary hearing

    "•                                                                                              mo.,o.
                                                                                             of Aonell,..

                                                                                                     assistance nf


                                                                                                                .nnlin„,i.n „f

                                                                                                Court in it.


                                                                                                  on the cnu„.

'                         determmatinn nf^thejactiidji^^^               evidence pr^sf-nted durinrr th.
AO 241 Petition for aWrit ofHabeas Corpus Under 29 U.S.C. §2254                                               Page 3of44
  appeal and post-coTivictinn relief pmceedines. Argument and citRfinn to sunnnrt the alleonhnn.; nffhU
  claim and all sub claims are made in the Brief in Support filed cnntemporaneouslv with this Petitinn,
   The following pmpnsitions under ground oneare lAAr suh-claims:


                      One: Insufficient Evidence to Sustain Convicffnn
                                      fSeesunportiny hrififPps.6.12'>

  FACT 1, All testimony presenli.,1 hv the alk„,l            H.D.. w., inrnn..-.,.nf.             ,„,i
  imnrobahlg.


   '•     H.D. testified to the events siiirmindinp the rti.H^sure tn h.^r mntfer IVali.r,V n,,.,]           f—,
  surrounding the alleged abt.se. Mnst nf her te.,intnnv was .iven
  Attachment 01 as H.D testified In having no reoolleetion of hein,              or what she s»iH
 interview. Beinf s„eh sjie^appled as an "nnavailable witness" T-Te.                                      j,,,,.
 Skveiaimme.. was inconsistent „^th mtterinl facts three Gl times                                            tii
 inmssible seven ,1)                                      eleven nn times                        - „rtditi„„,|
                                                                interview f.ee

                                                                 concent the events


                                                                          locations and         or.„.
 abuse.



   "•                                                                        the forensl.                f..,
                                                                    2-'". thon,h si,.       .mahle t.     .I,.

                                                                                           the snecn. ....

                                                                                  by statin, fonr „m„

                                                                                    that no ab,.se


                                                                                      c0ncer„.„          ...


                                                                     details of sneeift.




 s« Attachment A«.ecticn (,) P.ge. 1-2 f„r ,Ml ofcontradictory
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                              Page 4of44
           H.D.'s testimony is inconsistent with material facts and is refijted bv the testimony of Dr. Watftrs

  and DNA evidence collected at the alleged scene ofabused Her testimony is proven improbable bv DNA
  evidence, testimony of the Petitioner. Amanda Monsalve. and Jan Dver. as well as the testimony of the
  State's own witness. Dr. Waters^ H.D's testimony ahnnf "hurrvintr up and getting dressed" wh^n
  Amanda came home fSee Attachment Gand Video Transcripf pg. 201 defies physical laws as it would
  take less than ten flQ) seconds to be in view of Petitioner's bedroom upon returning home fSpR
  Attachment A-1 Diagram of home), making this testimony impo.ssible as there are no windows in the
  bedroom and the outside door is less than 24 inches from and adjacent to the bedroom dnnr.
           H.D.'s statements and testimony are completely unclear^ H.D. is uncertain of what dates
  alleged crimes took place, what abuse occurred, where she saw the acts de.seribed. or what
 surroundmgs looked like where the alleged abuse happened, At trial. H.n. was unsure If what she ssfiiH in
 the interview was even correct. Tt was so unclear that the interviewer. .Te..si.. T.vlcr. te.Hfi.ri thnt .h.
 unable to sav what, if anv, abuse H.D. had claimed fTl.SQV Wh.t Hear, however, i.that H.D. has
 coached and is not telling what antiially happened hut is rather attempting t. regurgitate a.tnrv              h.o
 been taught to her bv Valerie Dvftr

                        ""rt to the extent th.. State Post-convirtion court', finrfings offacs „f,1,^
 was not contr..^ tn riearly                 S.tprettt. r„„rt mlin.. ,hn.e

 rebutted by dear anri eonvineinf evident. The rtetemiitlation of the faet. th.t Hn'.
contradictorY, inenn.istent. unclear, or imprnhahl. j. nhiectivelv „nre„,nn„hl.          v..., .r...
presented in the trial and pnst-t^nnvictinn relief coiirtc

"•    The State trial corn's n.linp that the witne-^ „n, unavailable fnvnlv. •                      tn .nH/o, i.
toed on its obieetiyem„^nabie                    of Cn,wforJ vWashi...,nn                      .v
                                                                         eyidenee nresenteH

aMScludMjhedefk^ beinfi able to fully cj;ss^„,i„e the only wi,n„.
JSee Attacbnent Aat section (R) page 2for supporting facts
^See Attac^ent Aat section (III) pages 2-4 for supporting facts
 See Attachment Aat section (IV) pages 4-S for supporting facts
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                Page 5of44
 FACT 2; There is evidence that H.D. was coached

        i-   In support of the contention that H.D. was coached, one needs to only look at the evidence

  presented bythe State ofOklahoma^. H.D. admits that she didn't know what date to give investigators as
  a day of abuse, but that her mother told her what to sav: she admits that she"can't remember the whole

  stprY' to tell investigators; H.D. gives "January 2"''" as an answer to questions that are not asking a date
  because she was taught to say the phrase "January              there's evidence that H.D. was coached the H.v
  prior to trial in the prosecutions office to claim that she was rnped in a tent: H.D. admits that Valerift wa<;
  the one who first suggested Charles was the perpetrator ofa sex crime when RD. hadn't even madR a
  complaint to Valerie; and on January 12'''. during the forensic interview. H.D. described the sexual acts
  and circumstances found in pornography that was downloaded on Valerie's cnmpiiter the night pnnr nn
  January 11 Evidence, in the form of an email, suggests th.r .ftgr this pomogranhv was downln.H^rl
  Valerie felt that H.D. was sufnctently coached and was confident nf H.D.'s descriptions. In this Fmail
  that Valerie sent to Amanda (Petitioner's girlfnendV .^he is lauphint. at him and floating that h^
  about to be arrested soon (See attachment R-4). Had Valerie not                     H.D.. the..
  circumstances would not be present and there is no other r.;.sonabie explanation for ihem

   "•        Further evidence tendinf^ to show coaching is Valerie'.; testimony that she never
about the .sexual abuse fT3.91-921 and never asked H.D. >.hn..t what hannened fDH.2«V Thi. i. f.le»
testimony, however, to cover up the fnrt thnf <^he hid cached H.D. hecnn.. th. prpsecntinn               inFn^.H
her not to interview H.D. In an audio recording rSee Attachment B.9) however. Valeri.> admits th.t .h.
 interviewed H.D. niimf^rous times in mock interviews and spnVf. in detail with H.D ahnnt Hip
                         not her testimony to the jnn- The i„rv was unaware          V.uw. ...                „
this matter. Had Valerie not coarhed H.D.. she wn„lH not

                           determination of,he fart^ fhil H.D. was nnt                              -.nrn-nmlilr
in light of the evidence presented in the trial anH p^..KoQnvictin» r.l,VF.n..^c

        Aiuchmcnc Aat section (V) pages S-7 for supporting evidence ofthe contention that H.D. was coached.
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                  Page 6of44
  FACT 3: The state presented absolutely no corroboration of the alleged crime, though Statelaw
  requires it.


     '•   Though the state may attempt to aretie that Dr. Water's medical report corroborates the crime
  charged, it would be incnrrect in such an endeavor. According to state law. Dr. Wnfftr's testimnnv r..innot
  miToborate the crime. Dr. Waters examined H.D. for sexual abuse on January 13. 2Q1Q Fltl davs after
  alleged disclosure]. He testified that he has minimal sexual ahii.;e training fTl.S-15^ and i-; nnt certineri in
  pediatrics fT1.12). Dr, Wafers testified that his examination tonic "maybe 30 seconds or so" in the Hnr^al
  lithotomy po.sition fTl. !4-16) at which time he "did not see" ^ny posterior hvmenal tissue m 110)
    "•     Petitioner presents seven (7) articles written by sexual abuse experts that slate that ahnnrm»l
  findmps must be confirmed in the knee-chest position because sometimes the hvmen e.n be "difficult fn
  see fSee Attachment E-l). Dr. Waters testified that he has never done research on this subject fTl-10-71)
 and did not confirm his findings in the proper position fTl •?()-? n Thn..»h Dr. Waters                 th.t n n
 had no posterior hymenal Tissue his written report states only fh.i h. was "not able see anv hvmen.l
 ti^e posterioriyfemph.si. .dded) which is consistent with an exam rh..                                            ^
 prepubertal t^irl that does, in fart, have an intact hymen Dr. Waters testified that he knew p.v,.,...
 e_xam would be useful for co.rt hut made the rinrinnn to neither t.ke niet,,...                     no.           .

    ^            findm^s for the court, Because of this nepligence. any independent review of the alleged
 missing hymen is impncci-hiA

                    "11 "f"I'" i'i rentocd moot h.r,,,.. e..„n had Dr. Water.               ,l,e ex.n,
                                                                    .es.,-nronv ha. nn r.l,„.„.

aaJodmil^haLhe can't say with rertain.,. th-,, ^nxual abuse ev«„ n...,rr,H ,T,                              , „^
                                                                                  evidenr. li..




                                                                         evid.n.. ..,„H                       .,
Which isthe more likely reason that the state
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                               Page 7of44
      i^-\.      Though the state court never made any rulings concerning the lack of cnrrnbnratinn. nnp, miKt
    make the assumption that the court believes there is corroboration. Anv State court's determination of the

    fact that there was corroboration of the crime is obiectivelv unreasonable in light of the evidence
    presented in the trial and post-conviction relief courts.


    FACT 4; The evidence presented bv the defense is corrohnratcd bv both nhvsical ami
                   evidcncc.                                                             "


          '•     Petitioner testified to having numerous heated ariiiiments between Anril. 2009-January. 701 nwhh
    Valerie and filmR far divorce July. 20Q9 on prounds of adultery l'Tl.?.4.40-41.8R-S9.94VT.l.l?.S nS-
    134,153-154). Valerie and Amanda Mons^lye fPetitinnfir's girlfriend^ hnfh corrnhnrale this testimnnv
    Many of these arguments conr.em.d custody over KT) Petitioner                   t^t he once
    custody of H.D. while he wns in California and Valerie wa. in OHahoma: this re..»lted in V«1en> h.vina
    false charges pressed on him bv miiitary mithorities while he was in the Marine Com. VMerie calleH
    Petitioner laughing and informed him that he was in imnhl^ Petitioner was arrestefi anH
    after Valerie called the command and informed them ihut che had lied fT1.?.4-2Sim.l?«-l30l This; w..
 corroborated by Valerie (PR110 1nyTl.74-75). Amy n,rk. fTl.fi-9VT.
 Monsalve CT1.1R.1Q1


     "•                     the specific allegations of abuse, Petitioner testified that H„nn» the         nf ^nno
hg^nlZsleEt^^                                      nneri.yh..nnseheliyeHin.t.n^nn.h.r.„r-., ^
                                            TJiiUiCoirtoed by Jan Dver CT1 lO.n.rr.                      .„,„Tnr,-
testified that he lived in California from Aiir-ust-necemher 9000 .nj did nn, ... t-T n.                all CTI
37X73.1281 This is rnrrnho,rate03LJgILiTL^^                               rPH.7:>VT9 n.i.i p...
alone with H.D. on only two (2) separate oroasions during, rhrjstmas break ?n09: Dece.mhf^r n"'
MrnOmminutes. fifteen fH) of ^jchJl^.^. ,he ,hone with                                       .t,          ...
                                                                              which Petiti.n..
Amanda left the home and was still outside when she relumM fT1.44.4fi¥-n 1^5-1381
-              —she additionally testified that nothing was nnusual upon returning fTl.l 1-12VT1 fi?)
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                     Page 8of44
  Petitioner testified.specifically about January 2"*^ on which the alleged abuse supposedly occurred, stating
  that the entire family (Petitioner. Amanda. Amanda's daughter ^C.. and H.D.I was together all dav and he
  was never alone with H.D. fTI.46-49YT3.138.141-146'1 cniroborateci bv Amanda fT].13-15>('T3.3Q-34V

           Amanda Monsalve corroborated all of Petitioner's testimony concerning dates and events
  surrounding the alleged day of abuse and confirms that         \ testimony is imnossihle. AmnnH.-,
  that she had known the Petitioner and Valerie since 2Qfl5 and had never noticed anything iin.,.=„.l with
  H.D. through 2010 at which time she lived with the Petitinner (TH.SOVTl.3-5.1 l-]7.17-I«Y'n.4
  Amanda testified to how nngry Valerie seemed at learnmfr Amanda was in arelationdiip with Petitioner
 fT3.14). She testified thaf Petitioner and Valerie were fighting over custody with H.n. and Valerie'i Hn.f.
  use, and that Petitioner wnnted custody of H.D. rPH 7Q,Bd.8SYTl .TQV ShP. testified tr^                           .
 vengeful e-mail from Valerie on January 11^ 2010 [8 days after alleged              in which th.             H...
 was "Haha ha-ha" and stated to Amnndn "Good luck. H.-.               to need it" .nH "Th.nt,, fo,
 Lhope you enjny him" fT1.18-19yT3 46-47)fSee Attachment R-4 F-m.in                                  ....
 constantly would laugh at Amnnda and Petitioner, and wnnlH "flip them off ;it nnurt heRrin...               99)
 Amanda testified that she was conremed that Valerie w.s nttemntin. r. h.v. Petitioner f.k.lv
 .IS she had in the past, after receivinp th. "H.H-.H-.HA" e-mail and             the Petition., tn .1..
 sheriffs dept. the next day To make inquiry ^Tl 1RXT^i 46-47^ wh.r. h.
                       'he specific allegations of^hiis. nn January 2"^. An..nH.           ....
are impossible as the Petitioner onnld h.ve, in no way h.en l.ft alone whh Rn                  ...
Januaixi^i^e saw nothin, .rnusnalv^dUlimaLDaook ashower and w.. p..,,,-.,

kwjrfeemern the unwashed patUies and pajamas that H.D. wnr. rh.                           pf                    _
January 3^ (Tl .I5,21-22yT1 37-38) which is mrrohorated fay Dep„ti.s Seelv .nH T                            .y,-,
testimony at the first fr.nl



  '•                                                           defense w.. nn, ccn-obor,,.^ i,
.ynrcsonahlc In NVht of tl,. .yirt.nrr presented in Ihe triaUnd post-convir.finn r.li,f
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                Page 9of44
  FACT 5: Charles and Valerie Dyer were amidst a heated divorce with issues surrounding custoclv
             during the time-frame of the allegations

           Valerie admitted that she was afraid that the Petitioner would gain custody of H.DiTI                  tliat-
  she would "do or say anything" to prevent him from fraininfr custody CPHJIQ^ and that she wniilH
  commit penury if necessary l'Tl.72). Additionally, she was recorded savins that she wouldn't tell liin
  truth in court if it risked her losing custody ofH.D fSee Attachment R-1 and transc^ript Pp<=

  FACT 6: There is evidence of malicious prosecution bv Valcn.. Tlver. including h^r reneated                       nf
             periurv, inconsustenries surroiindinr the alleged di.Ho.ure. and recorded statement
             she would he in court to gain custody of H.D.                                                        "—

    '•            Dyer'.s testimony is Pxtensively periured/inconsistt^nt Valerie Bave testimonv thM w..
  contradictory ofher own te.stimony atotal ofnineteen fl9^ timas. ;.rnn.;.tent with facts .nH .viH.n..
 r.lO) times, and was impeached at l.nst three (3) times in front of the inrv^ wh.'l. attemntin. tn
 attack the Petitioner's character and preiudice him to tha jury
          y^iene admitted that she was afraid that the Petitioner would gain custody of H-n.fTl.321. that
 she would "d„        say anylhinp" mprevent him frnm gainin,                               .„d
 commit perjury if „.cessan- fTI ,77) Additionally ,he was recorded .avin. ,h.,...                         ,-||
 truth in court ifit risked her losing ni«ody ofHn K„ Attachment R-1               ...amcrint P.,
                                                                  the inconsi.teneie.
Valerie testified to aseries nf evenl..su|TOimdini; disclosure whieh .l..„iu,elv in,no..it,l.' » n
MiedlMjhe abuse occurred on laMaoLZilOIO. Valerie testified to the                  ,u .he

SOrrntenjledJaLAmanda Monsalve fTIDyer m.l77^ Pe.i.i„„., rr,
                                                                  was "eryin," and •no.             ,n..


                                                                   H.D. stated "t Hon.,

(IL7afiLa).diselosure of ahu.e, hy Petitioner was made to her hvHn ,1,;.

'IZ
 bee Attachment Bat section (I)(A) pages ofValerie'
                                         1-2       s perJary/mconsUtende., see ,
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                Page lo of44
asked H.D. what was wrong and H.D. stated that Petitioner touched her (4") Valerie reported the abuse to

law enforcement "the next day" FJan 4. 201Qf. (5) H.D. was absent from school this week from Jan 4-8.

2010m.80t.


  iv.    However, the evidence proves that the only truthful testimony from Valerie was the dav she

 picked H.D, up from the Petitioner's home. The testimony concerning H.D. crving and not acting like
 herself is contradicted by Valerie's own prior testimony that H.D. never cried until later that evening in

the bathtub ("PH.lOl") and when asked at the Dauhert Hearing specifically about the ride home. Valerie
savs nothing of crving or asking H.D. what was wrong rPH.Sn. Valerie testified that the only thing
 unusual was that H.D. seemed tired (Tl ,46\ More interesting is that H.D.. herself, testified that Valsrifi

never once asked her if something was wrong during the ride hnme m.l 121. that she never did anvthinn

to cause Valerie to question her, and it was in fact Valerie that first suggested that Petitioner had touched

H.D•^ Valerie's testimony of renorting the abuse to the police "the next day"rJan.41 is refuted Iw nepniv
Seelev'" and Valerie's own testimony that the report was made nn January S"* rnH.15Y Valerift
that H.D, did not attend school this week CTl.SQI. However, school records fSee Attachment B-51 prove
that this testimony is false as well since H.D. did, in fact, attend school this week. Common sense reveals
that Valerie save this testimony because it's not reasonable that aparent would send their child tn
for four (4) days after learning that she was sexually abused and seeing the inliiries descriheH. It n.nnnnt h>.
contested that Valerie perjured herselfconcerning the disclosure and the events surrounding it.
        The state court's determmation of the facts that there was no malicious prosecution bv Valeria
Dyer and this evidence had no eyidenfiarv value is nhjectivelv unreasonable in li>ht of the
presented in the trial and oost-conviction reliefcourts.




 See the forensic interview Attachment Gand G-1 Transcript Page 33
  See Attachment B-17 (AfRdavit) and Trial testimony at(Tl.ll-13)
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                              Page Uof44
  FACT 7; Forcnsic DNA evidence prove that the allegations are highly unlikely and
         testimony is Improbable as no incriminating evidence was found on the unwashed nanties
         worn during the alleged rape or on the bed or coucli where the rapes siinnosedlv
              occurrcd.


        '•   DNA evidence was obtained from Petitioner's home on January 12*^. 2Q1Q. The State cnllfirfsH
  the bed sheets, blankets, and pillows from the Petitioner's bedroom. Thev obtained the couch cn.^hinn.;
  from the living room, and they collected H.D.'s pajamas and panties from the dirtv clothes basket CSsr
  Attachment F at Pg.6'). Though Dr. Waters testified that a child of that age would bleed after sexual
  intercourse, no blood, body fluids, skin cells, or other DNA belonfiing to H.D. was found nn ihe hf-A
 where H.D. claims she was raped. Skin cells belnn^inf. to even/ permanent resident of thR bnmt.
  found because they had all been in the bed at some point. No incriminating DNA was found on thf- rnnrh
 where H.D. claims she was raped. Nn inrriminating DNA was found nn the naiamas or n;.nties fh^t Rn
 was wearing during the alleged rape (See Attachment           V.l^ri,, Dyer's testimony oorrohnrated fh.f
 H.D.'s clothes were left at Petitioner's home fPH.l 071. That KB .kin cells were              only ones ah.enf
 from Petitioner's bed where she claims to hnve hei^n raped, and that the          wnm diiHn>. the
 abuse bore no incriminating evidence is strong evidence of the Petilinner's innncenee

   "•                        determinatinn of the facts that the DNA fnren.in evidence h.H nn
 value is objectively imreasonnble i. light nf,h. evidPTire presented in the tri.l .nH po.t-convietinn
 courts.




FACT 8: 2-9 .l.v, prior ,o <|„ „||,pp,|           Val.ri,-,         er ,v.. „..H                            2(1

   '•             the pr^liniinnodarinEjniMOaM^^              Question.^         the
Valerie let it .lip that ,he State h.d fnnndjanoamhy on her own                    rPH n,. v..




                                                          eontouter exnert             n„„„„

hard drive the week pn'nr to trial

AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                Page 12 of44
      "•       Marvin Dutton testified to his extensive experience with computers and his work with the military
    and N-A-S.A, in this field CTLS-IOI. Mr. Dutton limited his investigation of the hard drive to December

    2009-Jamiarv 2Q10. He found that from two (T) to nine (9"> days prior to the alleged disclosure.
    ^.proximately twenty (20) website searches were done concerning what is required to convict someone of
    crimes against children, sexual abuse and misconduct toward a child, legal rights over a child, neglect

    when a parent isa danger to a child, child abuse, adoption and custody CT1.12-16.23\ "
               The state court's determination of the facts that the wehsifes searched hv Valerie has nn
    evidentiary value is obiectively unreasonable in light of the evidence presented in the trial and post-
    conyjction relief courts.



    FACT 9! Forensic Computer evidence nrovcs that Valerie's comnuter w«s used in viow
                 pornographic material the night prior to H.D.'.s forensic interview where she (IcscriheH
                 the exact actions and surroundings found in said nornogranhv.

          '•   After the first trial in 2011. the State conducted an independent forensic exnm ofValerie's hard
    drive throup;h the O.S.B.I.(See Attachment D^ The report from this examination corroborates the
testimony of Marvin Button but also contains further exculpatnrv evidence. The O.S.R T
computer use over a one fl) year period including the entire year of2009 and Janiiatv 7010. Qm nfthe
entire one fl) year period, there is only one 0) day that th. .nn.p,.t.r is used tn
Bomographic videos for an eight fSI hour perind: that dav January 11^2010 from 1225 to 20:^fi'^,
     "•        It s no coincidence thai H.D.'s forensic interview !•! the very next day on .Taniinrv I?•'" wherp HT\
dgscribes sex acts and circumstances that mirror that of the pornography found nn Valerie's cnmpniPr"
Equally devastating to the States rase is that Valerie ran be niaced .t the computer within minutes nf thi.


llL'lntM                                       can was
to the alleged disclosure and abuse. This cvidcnce be presented
                                                          in Attachmfflt^
                                                                 at the first trialthro.gh
not presented to the third jury that resulted in conviction due to lAC
                                                                                           DJ. Thisinwa.
                                                                                     which resulted      all^ done
                                                                                                     ahung         priorwas
                                                                                                              jury but
                                                                                                                 ^
"   See At^chment D-1 and D-2 for videos and samples ofpictures found onofValerie's hard drive Presented are 10
                                                                           download.


femL t [ZclT °1 '                    ^                                 ^        ''f-x acts with amale on top ofa
AUo „                                    T °°*'T'''',""* "                              performing or.l oi .„.,e.
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C §2254                                          Page 13 of44
 viewing due to the fact that a search was done for "Amanda Monsalve" on www.mvspace.com this

 evening at 2023 fSee Attachment D pg.S). This is when Valerie sent the MvSpace e-mail laughing at
 Amanda, telling her "I hooe vou eniov him before this week is over", and wishing Petitioner "good luck

 because he'll need it'YSee Attachment B-4 for this E-mailY Making the assumption that this e-mail tnnk
 five (5) minutes to write and send, pomogranhv was viewed within five              minutes nf senHinp th^
 message at 2033, proving beyond doubt that Valerie was the person downloading said pomographv or. at
 the very least, had knowledge ofwhn haH done so.

  '"•    The state court's determination of the facts that the forensic computer evidence had no
 evidentiary value i.s nhjectiveiy unreasonable in light nfthe evidence presented tn the nost-convrc^ti(.n
 courts. Additionally, the court's determination that the Hates of Hies on Valerie's cni»Duter are nr^t
 accurate is objectively unreasonable in light nfthe fact that OSBI agent Raines only            th.t h.
 unable to verity the dates due to a blown nower supply, not that the dates were incorrect. Not nnlv
 the state have bought apower supply in order to verify the dates, as Apent Raines testified tn. the
 Pklahoma had used the computer prior to the power sunnlv heinp                and wa.. itself     ...... .r
 the damage. Beyond this, the dates can he verined bv other evidence which correspond exactly with
dates provided on the hard drive, i.e. the Mysnace email rer^eiv^d bv Amanda Mpn.salve whleh rninriH..
to the exact date and time frame that the only Mvsoace se.r^h was done for "An^anda                        hy
Valerie Dyer on her computer fSee OSBI fnren.;. report                r.)

                           not presents with the              »nhed to the            QNA »nrl
          reports or with roadily .y.Uahle cviden;: tt,.. Valeria w..
          numerous suhiects. Thi.s efferted the Jurv's .leterminatinn nf crctllhiHfv and ouHt.
   '•       Attachment B for a full li.st ofperjury committed bv Valeria

  "•                  never presented with any nfth. evidence linked t. M.ryin H.mnn
the OSBI forensic cnmputer report CAttachmem n)
                            presented the testimony nf            expert. S.mh Ferrero whi.h .hn„,c
SSincnminating DNA evidence was present nn HD panties which w.r.                         the alle.eH .h....

AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                           Page 14 of44
and were unwashed when tested. The iurv additionally was unaware that the only person from the home

whose DNA was not found on Petitioner's bed was H.D. alone. This also precluded the iurv from seeing

the DNA written report.

  iv.   The state court's determination of the facts that the jury's determination of credibility and fiiiilt.
based on evidence not presented to them, was not effected is obiectivelv unreasonable in light of the

evidence presented in the trial and post-conviction reliefcourts.


FACT 11; There is evidence that links disclosure directly to H.D. coming from a registered sex
          offender's home


   '•   The timeline in this case is extremely critical and proves the state's testimony as absolutely
impossible when reviewed. Regardless of any scenario that can be coniured. Valerie's actions are
completely impossible and further unreasonable for anv parent that had iust learned that their child haH
been raped. By the States evidence, there are only two possible scenarios:

        Scenario A Valerie picked up H.D. from Petitioner's home on January 3"^ and disclosure was
made this evening. This is consistent with H.D.'s interview where she said that she told her mother
, Sunday—[Jan, 3 1 of the abuse, Then. Valerie sent H.D. to school for the next four ("4'^ davs as if
nothing happened until January B'' when she finally decided to contact police for some reason. In this
scenario, Valerie lied about sending H.D. to school this week and reporting the crime "the next dav".
This scenario would involve Valerie .-ieeing iniurv to her daughter, leamini? of abuse, vet senHinf> her
child to school the rest ofthe week, not contacting police fnr five (S^ davs, and not seeking >.nv
attention whatsoever. The alternative is scenario B.

        Scenario B Valerie picked up H.D. from Petitioner'.; hnme on January           No dis;dn^.irP
made and H.D. showed no si^ns ofdistress. Valerie              ofthe sexual Rhuse four f41 Hav. lat^r nn
January ?"• and went to the police "the next dav" whinh i. consistent with nolice rfipnrf.
Attachment B-17). the medical report fSee Attnchment FX anH the testimony nf Amanda thnf
learned of the disclosure on Thursday [Januaiy 7'^1fT3.671 In thi. .cenarin. Valeria lied ahnnt ^ n
.demeanor upon picking her up and the disr.losurc beinfr made coming directly from Petitioner's hnms
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                             Page 15 of44
 The testimony ofH.D, grabbing herself and crvine would actually have been four C4"> davs after leaving
 Petitioner's home.


   iv.       Facts prove Scenario B as the most likelv and place the case in a completely different light due
 to the following: 1. H.D, is recorded as going to school on the disclosure date of January                CSee

 Attachment B-5I. 2. Valerie testified that H.D. went to her mother's home after school m.lQ41. 3.

 Valerie admitted that her uncle is a registered sex offender fPH.l 17^ and liver! with Valerie^ mnth^r

 (T3.14"). 4. So Valerie s testimony of H.D. grabbing herself and crying would have been after H.D. had
 come directly from a sex offender's home that was charged with exposing himself to a four C4') year old
 W.H., admitted exposing himself to his minor cousin T.B.. and attempted lewd acts on a minor''*. Thi.s
 ,scenario is consistent with the fact.s. consistent with Valerie's mother's altemnt to hide the fact that ths

 sex offender lived in the home, consistent with H.D.'s inability to describe Petitioner's bedroom nr if.ut
 and evidence of coaching, and Valerie's need to do multiple mock interviews and then lie to fhe jnrv
 about it.

             The state court's determination of the facts that there was no evidentiary value in T-T.n
 disclosure coming directly from asex offenders home is obiectiyelv unreasonable in lipht of the eviHpnrf-
presented in the trial and POst-conviction relief cnnrtg


                              Two; Ineffective Assistance of Trial Counsel
FACT 1, Trial coumel failcl to oLjorl to 33 l,.ar,„y             Ih.t wnr. nrci„,|ici.l .ml ........l
        could have easily shown many of thorn as net-furcd. (See supnortinp hricf
   '•    ^^'^rie testified to thirty-three (33) hearsay statements that she claims Petitinner            tn h^r
These statements are found riiirinF. the third trial at the followinp p.pn and Vme. nnmh^r.-
•Fagc.24:Line.22; 2S:12,16.21; 29:? I7-P4- 30:1.11:               .7..n- 37:9: 42.1.- 44.1-
48:20; 50:16; 51=3 16; 53:12;          IV 57:15: SftrlV SQ-in.,                                 99-7n.M



                 ...      L                                                                    past sexual acts



AO 241 Petition for aVl^rit of Habeas Corpus Under 28 U.S.C. §2254                             Page 16 of44
   ii-   These statements allegedly made by the Petitioner were offered to prove that Petitioner made
 statements to force Valerie to promise to get an abortion, called H.D. "Cancer" in Valerie's stomach,

 disregarded his violence toward Valerie, forced her to leave her family wantonly, refused to attend to

 H.D.. was uncaring to H.D.'s needs for her mother, stated that H.D. was in his way, that he had no time

 for H.D.. that he grounded Valerie from the phone, uncarinclv did not want to soeak to H.D.. that

 Petitioner no longer wanted Valerie and H.D. mislead Valerie as to whv he was going back to California
 in 2009 to be with Amanda Monsaive. Eleven fll') of these statements are proven oeriured fSee
 Attachment B and testimony atT3.29.47.4R.:S0.';i.^-^ 55.57.fifi and

         The state court's determination of the facts that counsel was not deficient for failing to object tn
 testimony that he had readily available evidence was peritired is nbiectively unreasonable in lipht nf
 evidence in the record and presented to the post-cnnviction raliVf
 FACT 2; The prosccutinn made numerous imnroner statements tluring clnsinp arpumenfs whil^
        counsel sat silently and allowed them to seriouslv nreiiidice the iurv against his client.
        (See supporting briefPgs. 14 for argument and citation)
         T'le State made four (4) misstatements ofthe evidence, .seven (7) statements ofpersonal belief.
and allowed wimesses to commit oeriury numerous times'^.

  "•  The State also made improper comments that Petitioner didn't love his family, and            tl.^t
H.D. was tragically hearthrnlcen and had to live the rest nf her life with what Petitinnt-r HiH tn h..
fT3.I90), further asking the jury to improperly rive sympathy tn RD. and cnnsiHer this wbt^n
on guilt m   •?_1Q^


        Counsel made no objection to this improper cnnHuct of the prosecution
        The state court'.s determination of the ferts th.t           ppt deficient fnr failin.
this prosecutnrial mi.scnndnrt is objeclively .mreasonahl,. in light of the fiviHence in the
presented to the post-convictinn relief courts


FACT 3: Defense counsel failpd to present readily availnhl^ .vpert tcstimnnv from 7 sennrnt.
          witnesses to challenge the state's evidence: fnilnri to call Lnri rrpsbi^ to   Valn.i».
          failed to call thenistodian ofsehnol records prpye Valerie's tcstimonv onh^ timeline
 See lAAC Sub Claim V"Prosecutorial Misconduct" Pgs. 29-36 of this PeUUon.
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                           Page 17 of44
           perjured; and failed to investigate and obtain an expert witness to challenge Dr. Water^s
           findings; in effect failing to nlacc doubt in the State's case. (See supporting brief Pgs.l5-I8
           for argument and citation)

   i.    Defense counsel failed to call Deputy Seeiev. Deputy Seelev would testify that Valerie didn't

contact police until five (St days after the alleged disclosure. Through him, his police affidavit reflecting
the same could be introduced. Seelev would testify that he gathered the DNA evidence at Petitioner's

home and there were no white pillows present, contradicting H.D.'s testimony of white oillows and

corroborating the defense. By not calling Seelev. the defense was unable to stress the critical fact that

Valerie was Iving about disclosure and reporting the alleged abuse to police, show inconsistencies in

H.D.'s testimony, and poke holes in the State's case, creating doubt ofthe alleged charges.
         Defense Counsel failed to call Deputy'Lemons. He would testify that H.D.'s panties and paiamas
sent for DNA testing were obtained from the dirtv clothes hamper, corroborating Amanda's testimony. He
would testify that Petitioner was wrongfully arrested on a complaint made bv Valerie in Sent. 2010. in

front of the courthouse as he was the arresting officer: this would show Valerie committed periurv when
she testified that she never tried to have Petitioner arrested for charges other than sexual abuse CT3.I47.
149Y


        Defense counsel failed to call computer expert Marvin Dutton. He would testifa that Valerie'^!
computer was used to access websites containing information about termination of nnrentgl rights, hmv tn
report sexual abuse of a child, how to convict someone of crimes against children, and all of thk w;..;
done eight f8) davs prior to the alleged abuse. This evidence .^hows premeditation of mak-inp fakp
al.iegations, corroborating the defense theory and critically attacking the State's case.
        Defense counsel failed lo call OSBI forensic computer exnert Donald Raines. He woiilri
that he examined Valerie's compifer on July !.5. 2011. allowing ^rimission of his written renorf rSf-e
Attachment D). He would not only corrohorate Expert Dntton. he would te.stifV specinrallv that
computer was used tn research "Termination of Parental Rights". "Okliihoma Parental rights". anH
"Gettmg Parental Rights Rack", as well as accessini? childwelfare.frny containin.. information ahm.t
"Penalties for false reporting of child abuse" and "Grounds for Involuntarv Termination of Parental
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                            Page 18 of44
 Rights" which states that the most common around includes "sexual abuse" CSee Attachments D-3 and D-

 4't. He would testify that the computer was used to view pornography on the same day that r^arental rights
 searches began on Dec.25. 2009 (The dav Petitioner nicked un H.D. for Christmas hreakl. He would

 testify that pornographic videos were accessed at Redtiibe.com and that on only one              day it wns

 accessed multiple times: this was on Jan.ll. 2Q1Q. the day nrinr to H.D.'s forensic interview. He would

 testify that a search for "Amanda Monsalve" was done at 2023 on myspace.com iust minutes before
 pornography was viewed at 2033.

         This testimony would link Valerie to the computer nee through the testimony of Amanda ihat
 Valerie had sent her_a. MySpace message this evening laughinp at her and insinuating that something hnd
 was about to happen to the petitioner (See Attachment R-4 for messageV It would nrnve premeditntinn
 and malicious prosecution. It would allow the defense tn show the iiirv that what H.D. was descrihinp
 identical to the images and events in the pornography downloaded on Valerie's computRr. AnH th,.
 viewing of the pornography the evening prior to H.D.'s interview, the description. RD. gave. cnnpl^H
with the laughing email Valerie sent to Amanda would prove beyond a reasonable dnnht that ValPriP
coached H.D. The evidence that Donald Raines would pjye is devastating to the State's case and fully
corroborates tlie defftnqpi


         Defense Counsel failed to call OSBI DNA foren.sic expert. Sara Ferrero. Through her testimony
the DNA report (See Attachment H^ could he introduced which proves nn white nillnw. were found a.
H.D. claimed, that all residents of the home had skin celk fn»nd on the h^d vet H.D.'s w;.s not, and tlmt
H.D.'s panties worn diirinp the alleged abuse were tested fnr incriminatlne DNA and none wps fn.mH
This evidence would refmt^ that H.D. were ever in Petitinnpr's bedroom             she testifi^-d .nH
corroborate the defense as it is extremely unlikely that the .h.i.e described <^r.,.[d have
.without leaving DNA evidence CSee Dr. Waters testimony at T1.27-291.
                  counsel failed to call Offlrer Dnn Fletcher             testify that         n...
boyfriend made false complaints .p.inst Petitioner ronremin. Pe.,-t.-nn.r .,,lking Valeria .nd
property on Mar.14 and Ifi ?nil as well as May?4, 2011: and that Valerie                       Petitioner nf
AO 241 Petition for aWrit of Habeas Carpus Under 28 U.S.C. §2254                              Page 19 of44
  hii.acking her e-mail'^. This would prove that Valerie committed periurv concerning her denial oftrying tn
  have Petitioner arrested for crimes other than the sexual abuse m.UT-MQI. This testimony would nnt

  only destroy the credibility of the State's witness but would corroborate the defense theory that Valerie
  will use the State as a tool of vengeance against Petitioner

          Defense Counsel failed to call Duncan Police Officer Corchoran who responded to acall made bv
  Petitioner after Valerie began screaming at him and refiiseri vi-^itation of H.D. in earlv July. 2(109. Thh
 would impeach Valerie on her testimony that police were not called m.93-94V This is corrohorntRd hy
 an audio recording from July. 2009 in which Vnleri. .Hmits thnt            w.r. called .nd th.t w.. h..
 fSee Attachment B-lTranscript pf?. ?.). Calling this witness wnuld impeach the State's wlfn^^^ aiH
 increase Petitioner's credibility

          Defense coiinsel failed to call Lori Crosby as arebuttal witness to Valerie Dyer. She wn.ilH
 that she never viewed pnmngraphy on Valerie's compnter as Valerie testified. This wm.M diminish thf.
 credibility ofthe State's witness and corroborate the defense theory that Valerie eoniured up            rhorp.,
 and coached H.n


          P^f«"se counsel failed to call the custodian of records from th« Duncan School System tn sbnw
 H.D. attended school from Tan 4-7 2010, conlrarv tn Valerie's t.sti^nny. Through this testimony, .rhml
 records could he introduced fSee Altarhment P Th. fact that H.n.                      cchool fnr fnnr         H.,,.
 after the alleped disciosure would place extreme doubt with the inrv thnt th. disclnsnr.
                            failed to call nny expert witness to rebut the finding, nf Pr. Waters P.titi.n..
presents numerous articles written by jeMaU^.p^rts that state tb.,
confirmed in the Vnee-chest position hPn,.e -on..times the hymen ...                              ,
Attachment F-IV Dr. Waters testifl>.d th.t he hn- nnvnr done research nn ibi. ...hject fT1.19-9 n.n.


9L                                        Dye?"^ Petitionerstalked Valerie on May 24. 2010) (See Attachment B-
Peti^oner on September 2r20;0)Tee
Petitioner arrested onmayi'^
                    on May 14"' andl6
                                and 16"^.2011
                                         3011 ffor vandalism
                                                      Ai- as well as May 24^ 2011 for
                                                                                  Valerie  sattempts to have
                                                                                      stalking)
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                 Page 20 of44
 not confirm his findings in the proper position rT1.20-2n. (See the Brief in Support for in depth argument
 and citation on counsel's failure to present a medical expertV


 xii-    The state court's determination of the facts that counsel was not deficient for failing to call or

 investigate expert witnesses in order to present critical exculpatory evidence is obiectivelv unreasonable

 in light of the evidence that most of the witnesses had already testified, none of the testimony harmed the

 defense, and thetestimonial evidence was material to placing douht inth'e iurv's mind.

 FACT 4; Defense counsel failed to file a motion to use the testimony nf Dr. Rav Hand, dcnrivina
        Petitioner of his right to present a full defense and failing to nreserve this issue for
           appellate review. fSee supporting briefPg.l9 for argument and citation)
   j-    Dr. Hand is a licensed psychiatrist of nearly thirty flOl years and testified to his research and
 interviewing process witli children. He has testified multiple times in court on the subject rDH.185-189V
 He testified that Jessica Tavlor seemed in a hurrv and didn't allow RD. to deveinn a narrative hftFnrt-
asking the next question fDH.igSl This is corrohnrated bv Tavlor'^ skipping sections ofthe intPrvii^winf,
protocol which Dr. hand would have pointed out at trial, Dr. Hand testified that the use nf
dolls tend to have children offer more fantastic details than children interviewed without them ('DH.194y

  "•    The state court's determination that counsel was not Hefinifnt for failing tn reassert thi<! mntiAn in
order to preserve it for appellate review is obiectivelv unreasonable in light of the far.ts of how          it
was to refile said motion and the district cniirt's decision         contradicted hv state court precedent. Anv
reasonable and cnm^^etent attorney wonid h.v.             .ndth...             for review, thi.

FACT 5: Counsel failed fn object tn improper                           against Petitioner's charnrfPr (Sec
         supportmg brief Pg. 20-21 for argument and citation)
        Throughout Valerie Dyer's testimony. Petitioner'^; rhfiracter is            with numerni..
about his had acts and vile treatment of hi. f.mily Valerie testified tb.,                   w.. .norv .K...
Valeric "bringing arhiid into this world'-m -^6) r.ll.d H.D. "cancer in b.r                   p...,.,,..
mthe stomach and was dispiisted at Valerie's pregnancy                 f.VM being hannv about having . h.hv
when around others rT3.27.31.15) only nibbed V.l.nVs bellv or t.li^ed r. th. ....


AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                  page 21 of44
 the pregnancy           forced Valerie to move to TN. Because Petitioner was controlling and didn't want

 Valerie's family around H.D. (T3.29-301 refused to help with H.D.. refused to hug or hold H.D.. cussed

 Valerie rT3.3n. was angrv at Valerie for paving attention to H.D.. neglected H.D. (T.3.32.38^: Petitioner

 stated H.D, was in his wav fT3.39.51-53"): Petitioner hadno interest in H.D.. controlled Valerie and didn't

 want her around her family, grounded Valerie for a week frnm the phone rT3.40.44-471 never called to
 SEeak.to H.D. unless Valerie forced the issue (T3.48.52"). and Petitioner was unset that Valerie moved out
 of his parent's home and refused to send money to she and H.D. to heln CT3.13,50V

         Petitioner contends that almost all of this testimony is inconsistent with prior statements and
 evidence that was readily available to defense counsel i.e. letters written by Valerie (See Attachment B-13
 which shows that it was Valerie who did not tike her nwn family. Petitioner was a loving hnshnnH anH
 Valerie felt she was not agood wjfeV Skvpe messages CSee Attachment R-14 which prove that Valfirip
 hed about Petitioner stating that H.D. was in his way and leaving Valerie stranded in OklahnmaY
 of bank statements fSee Attachment B-7 which prove Valerie lied about Petitioner str^nHina                    in
 Oklahoma with no money), and signed receipts ofchilH sunnort hv Valerie fSee Attachment R-fi whi^h
proves Valerie lied about Petitioner not helping finnncialM.             See Attachment Bvjh\ch pmvp^
Valerie gave false testimony concerning manv of these acts

        "^he state court's determination of the facts that            was not deficient for fRiling to object tn
this testimony or preserve it for appellate review is obiectiv^lv unreasonable in light nf fh^
presented mthe post-conviction relief courts that counsel was aware that this testimony was inadmi^siihl)^
for the purposes that itwas given and nnlv failed to         out nf

FACT 6= Counsel failed to inv.stifat. prior testimony nf witne.ssc. in nrd.. tn jmnench fh.n., fnil...
          ^ investigate critical cvidenrn, and refii.^ed tn nsk qiicstions presented to him hv th.
                           supporting briefPgs. 21-23 for argument and citation)                           ^
                        Hs trial counsel twenty-three f23) nap.-s ofQuestion,          rebuttal tn       .n ..H..
to impeach the State's witnesses and corrobomte the defense. Petiti.n.r h.-h thi.             nn..n..i
present during any previom he^rin^s or the first trial anrf                  know neither        facts nnr th.

AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                               Page 22 of44
 testimony given previously. Regardless of how the questions were answered bv Valerie or H.D.. it would
 show inconsistencies and contradictions between the pretrial hearing and the two (2) previous trials-
 Counsel assured the Petitioner that he would ask the questions and point out the perjuries. However, when
 trial started, counsel wasn't even able to locate the question sheet and had clearly reviewed neither it nor
 prior testimony of witnesses. During cross examination of Valerie Dver counsel was ready to nass ths

 Mness without asking multiple questions or showing numerous conlradictions demanded bv Petitioner.
 Petitioner^became agitated and threatened to make a spectacle in court bv requesting that the court allow
 him to question the witness because counsel refused. Defense counsel reluctantly npr^ed to impeafih
 Valerie with photographs as plncation to the Petitioner and         r.,,uested abreak because Petitinn^r w..
 furious vAth him fT3.1.-141. Defense counsel later refused tn rr^call Valerie during the            pnrtinn
 show that she had lied abmif avast array of tonics fSee Attachment RV Cnunsel was fared with glaring.
 and crucial discrepancies between Valerie's testimony at the three trials and he failed tn fnllow-iin nn hk
 cross-examination bv confronting her with her statements or hv introducing thR tran^rript
         Counsel refused to ask Amanda or Petitioner about Ihe lavnnt ofthe home nr show
 the jury; this would have shown that it would take less than ten nn^ .e.nnds to get frnm th.
 one foot of Petitioner's bedroom dnor fSee Attachment A-IV                  HQ.'s teslimnnv .hn„t
up and getting dressed" when Amanda came home as impossible fSee Attachment G
Transcript pg, 2QY

        " - P - M aprevinns trial that she didn't rfrall anvlhinp „n,K„„l h.nn^n.'n,                       .i,.
tlm. that the alle,H nh,„. h.rt occurred. She pave itrpossible. cnntr»rfi.tnn,
iksaEiUh^ideo ..d trial. fS.. Att^rhntent Afor af„ll list of .aid                             t...r,..
Sifflteidictioil^nd inconsistencip.s counsel -ever attetnrted to          nrior                      1h- mil
                                                                   was rentiss in .hi.




testimony and refused to       tp Petitioner'.
                                                               : issue.




AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                             Page 23 of44
  iv.    Coiinsel failed to investigate the timeline of events (See Attachment M for a timeline list"). An

effective attorney would work out the chronology of events. In this case, had counsel done so. he coiild

have argued convincingly that H.D. and Valerie's inconsistencies evinced manipulative coaching and

malicious prosecution bv Valerie.

   V.    Additionally, since counsel failed to consult or call an expert to refute Dr. Waters, Petitioner

demanded that counsel show Valerie's actions as unreasonable bv inquiring of Waters if a rape victim
could be seen in the E.R. or if they had no option but to obtain an appointment because no physical
examination wasdone for nine ("9') days after allegedly learning of the abuse, destroying any ability to find

exculpatory evidence. He refused to ask of Waters if the State or Valerie could be seen as negligent

within the medical profession for waiting nine C91 davs after the alleged report ofabuse to have H.D. seen
by_a doctor orif itwas uncommon for a mother to wait over a week to seek medical attention after seeing
the iniurv that Valerie claimed.

         The state court s determination ofthe facts that counsel was not deficient for failing to investigate
prior testimony or thoroughly impeach the witnesses is objectively unreasonable in light ofthe evidence
presented in the post-conviction relief courts that counsel had the information readilv availahle tn him tn
do so as more fullv set forth and established in the Br. Supp at paces 21-22

FACT 7: Counsel allowed jurors to sleen durinp critical nrescntation ofevidence withniif Snfnrminp
          the court or attempting to resolve the issiiP. (See supporting briefPg. 23 for argument and
          citation)


   '•   Members ofthe jury were asleep almost every dav nfthe trial. Petitioner brniiPhr ilii.s to cmm^c.W
attention numerous time.s. eventually threatening to disnmt proceeriinps bv standinP up and lellinp
court. Counsel eventually became irritated with Petitioner ^nd reluctantlv informed the cni.rt that iurnr.
were asleep fo which the court requested thnt thev attempt tp stay awake. Petitioner's trial notes
three (3) separate times that Petitioner notified counsel th«t afemale iuror in purple was        diirinf. the.
testimony of Jessica Taylor, Dr. Waters, and while the forensic interview played rSee Attachment K



AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                             Page 24 of44
 notes"). Additionally. Petitioner verbally informed counsel that several jurors were asleep during Dr.
 Waters' testimony and that an old man was falling asleep constantly throughout the trial.

   ii-   The state court's determination of the facts that counsel was not deficient for allowing turv

 members to sleep during the trial is obiectiyelv unreasonable in light of the evidence presented in the
 post-conviction relief courts. There is no doubt that counsel should have ensured that the iurv were

 conscious during the introduction of evidence that was critical to the case as more fnllv set forth and

 established in the Br. Supp at page 23

 FACT 8: Counsel failed to request proper iurv instrucfinns. (Sec supporting brief Pgs. 24-25 for
          argument and citation)
    '• The state was required by law to present corroboration ofthe crime alleged due to the testimony it
 presented by H.D, Counsel did not renuest an instruction to reflect this. Had he done so. Petitioner cnulH
 not have been conyicted


   "•    The state was required by law to elect a crime upon which to base aconviction. Counsel failed to
request that an instruction reflecting this he given. Had he done so. it is likely that the jury would not hnv^.
convicted him.


         The state court's detennination of the facts that           was not deficient for failing to request
proper jury instruction is objectively unreasnnabie in hVht of the evidence presented in pn.t.
conviction relief courts that prove the lack ofthese instn.ctions violated Petitioner's Cnnstitiitionnl riphtc
and coun.sei should have had the minimum lepal knowledge of r^pe cases in order to have known th.t tl.»
iaw required corroboration and aunanimous jiiir instnirtinn as more fullv set forth and                  in ^1,.
Br. Supp at paees


FACT                     to present readily available evidnn.P m»vcrcQme the State's motian in
          Iimrn^ (See supporting briefPgs.2S-26 for argument and citation)
                                                      presented cnnc^n^inp Valerie's uua\e. T.m..
being a registered sex offender




AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                              Page 25 of44
   ii-    Defense counsel could have overcome this order of limine bv presenting the evidence in

 Attachment C which was readilv avaiiable to him bv proving; Cn James Hekia has a propensity to act

 lewdly with voune females. (2^ James has exposed himselfto underage family members.                    James lived

 with Valerie's mother. Teresa, at the time of H.D.'s disclosure, and Teresa hid this fact from police. ("4)
 Valerie admits to leaving H.D. at James's home while she used illegal drugs CTB.l 1It. <'5'> H.D. testified
 that she staved at James' home after school ("T3.104').      All evidence points to disclosure date as January
 7 , 2010 ("See Attachment B fflfA¥3")1 and H.D. went to school this day CSee school records Attachment
 B-S) (7) Thus, uitimately, Valerie's testimony of H.D. holding her private area and crving during the
 drive home, and having a red swollen vagina was directly after lenying the home of.Tame.^ Hekin whwh
 was four r4') davs after Petitioner last saw H.D.

         .The state court's determination of the facts that coun.sel was not deficient for failing to pre-ient
 this evidence to the trial court is ohjectiveiv iinreasonahie in h>hf of the evidence nresenteri in thP tnal
 and post-conviction relief courts as more fullv set forth and e.-;tah]i^hed in the Rr. .Sunp at papt-.;

FACT 10; punsel failed fo fully advise Petitioner of the defense stratcpv when offered a2'/, vpnr
       plea agreement bv the .state. (Sec supporting briefPgs.26-27 for argument and citation)
         Petitioner wa.-; offered a 2 '/, year plea agreement and reHnr.tion ofcharges on the dnv nf
trial, At the time of the offer, Petitioner was aware of exnulpatorv evidence in the form of DNA evid^nrp
that proved H.D. hadn't been raped where or when she claimed; that Valerie'. tP^timnnv rnnlH                .hn„.n
to be periured on numerous arrounts inciudinp disclosure evenf. and dates: that Dr.
testimony could be refiited by articles presented to counsel hv            family: that Marvin Dntton wm.lH
testify to the information containH nn VhI.Hp'^ rnmputer orovin.                                  ...
that OSBI evidence corroborated Dimnn's findings and further proved V.l.ne .n.ched HP hv
her pornography the night prior to the forensic interyjew in whi.h RP. descrih^H .aid             linl^in^
Valene to this usage; and that H.D.'s te.stimony cniild be proven tn he inconsistenr ..nntradictorv
improbable.




AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                 page 26 of44
   ii.    Petitioner had no idea that Deputies Seelev and Lemons. Mr. Dutton. Sara Feirero. QfYicer

 Fletcher, the school custodian, and Donald Raines were not being used as witnesses. All of these except

 Fletcher and Raines had been called at previous trials. Petitioner was shocked when the Defense rested.

 He confronted counsel and threatened to tell the judge that counsel was refusing to call witnesses and
 request that he be allowed to question them pro se. to which counsel renlied "That's an issue that vou can

 bring up on appeal" knowing full well the near impossible hurdles that a pro se litigant would be forced to
 face in order to do so.

          Petitioner was unaware that Donald Raines and his QSRT report was not added to the
 witness/evidence list until after going to prison and obtaining case documents six ("61 months later-
 Defense counsel assured the Petitioner that this evidence would be presented when counsel, in fact, had
 no intentions of ever presenting it. Further, counsel assured Petitioner that the DNA report contradictinp
 H.D, s testimony ("See Attachment HV audio tapes proving periurv CSee Attachments B-1 and
 school record.^ proving perjiirvfSee Attachment B-51. and police afiidavits nrovinp pprinrv
 Attachment B-171 would be presented.

         .The state court's determination of the facts that counsel's actions was not deficient in misleadinp
his client so that he decided to not fake aplea agreement is nhi>ctivelv unreasonable in lipht nf ihp
evidence presented in the trial and post-conviction relief courts as more fullv set forth and estahlishpH in
the Br. Supp at pages


                           Three: Infection of Trial With False Testimony
fact 1= The trial w.s infected with 38 counts nf nr.vnhie nerh.rv hv                     T.vlnr nnH
        Dven (See supporting brierPgs.29-31 for argument and citation)

   '•    Petitioner contends that his trial was infected with thirtv-fii-ht f381 counts nf provable nPriurv hy
Vaiene Dyer and Jessica Taylor'^ Valerie rave false testimnny about Petitioner's cruel tr^iitment nf H.n
and Valerie. She ..ve faise testimnny to masV her drug use, propensity tn li. n^anipul.tinn nf


lisfS Jessica
      to Tavlt'^                                                               3!.3S ofthi. Petition. For adetailed
              Taylor stestimony, See Prosecutorial Misconduct Pgs.3S-36 ofthis PeUUon
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                   Page 27 of44
  enforcement to arrest Petitioner, her motives to fabricate false charges, and her coaching of H.D. Valerie
 testified falselv to the events surrounding the date of disclosure. H.D.'s school attendance, and H.D.'s
 actions and statements at disclosure. Valerie additionally f?ave false testimonv to nreiudice the iurv
 against the Petitioner, All ofthis testimony was material in iurv determination ofcredibility ofwitnesse<;
 and the events surrounding disclosure, including corroboration of H.D.

    "•    The forensic interviewer gave several false statements concerning H.D.'s description nf
 Petitioner's penis, descriptions of sexual acts and H.D.'s                   to offer other possible s.ispert.
 which IS important because H.D.'s alleged disclosure           after cominp directlv from a convictftH .ry
 offender's hnma

          The state court' s determination ofthe facts     th.re was no nerinrv committed hv
 IS obiectively unreasonable in light of the evidence presented in the trial and pn.st-convictinn
 as more fully set forth and established in the Rr. Sunn at paoes 7.Q-11

 FACT 2: The perjury by Vabri. T)Tor mnsked V„lerin's ,l,i,g „.c. nrn„,n,iK. ,n Me mnmn,.
           !!l J,"                          Pelitioner. motive,^ tn fabricate falsn               an,l rnnnhi„„
 FACT 3: Valerie tolifiecl falsely f„ the events ..„rr.,.Min,. th. ,l„.n .f -n.cteiir.. H.B
           attendance, and H.D.'.s actions anil .statements diirinf; allcPcd Hist-lpsurfi.           ^


           Four: The Di.stricf Court Failed to Require the Election nfn Trimo
          supporting briefPgs.3I-32 for argument and citation)fr""* -T"'-'                          -'"1ft rSee


  '•      'ri" the Sfate introduced testimony hy Hn that she               b.en raped
2009(T.399-10n)fSee also Altaelintent 0 and ^^ideo Transeriot                  .s ,.,.11   „„ ,          .
                                                          if ,hev

between Jiilv 2009 tn Tgnuarv 1. -pfll n




AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                              Page 28 of44
 FACT 3; Oklahoma law rccognizcs that rape is not a continuous act and that a conviction must be
        based on a single act, not anv acts that might have occurrcd during a ncriod of time, sucli
               as Petitionerwas charged.. (See supporting briefPgs.32 for argument and citation)


 FACT 4; Oklahoma law allows nrosecution of a narent based on anv acts during a ncriod of time.
                in child sexual abuse cases, when the narent has exclusive domination of said child. (See
                supporting brief Pgs.31-32 for argument and citation


 FACT 5: Petitioner did not have exclusive domination of H.D. during the period of time in question
        '•    At trial the State introduced testimony by the alleged victim that she had been raped during the
 summer of 2009 as well as on Janiiarv         9.010

              Petitioner testified that he lived in California from August-December 2009. Petitioner
 that he was in Oklahoma for only two (2) days during this time and did not see H.D. at all fTl.35-
 37XT3.128). This is cnrrnborated by Tiin Dver fTl.7-9) and Amanda rPH.72¥T2.n-151 and the
 does not allege otherwise.

             The state court s determination of the facts that Petitioner had exclusive domination of H.D.
 during the alleged crimes is objectively unreasonable in lipht of the evidence nre.';entfiH in the trial anH
 post-conviction relief courts as more fully set forth and e^t^ihlished in the Rr. Sunn Rt         11
             further, the court's failure to elect a crime allQwed th^ Petitioner tn he convirtftH in violation nf
federal law established in Hstellft (See supporting briefPgs.32-33 for argument and citation)

                                       Five; Prosecutnrial Misconrfiipt
FACT 1: The prosecution mi.slrad the jury about VH^rin'. mnHyc to fabricate rharf.es
                           her committing ndulterv.                    ..dicntion tn hi.

              SS                                        (See supporting brief Pgs.35-36 for argument and
   '•        The prosecution misstated evidence in an attempt to discredit fh^ rl.fense theory hv
the jury into h.li.viu, Valerie hnd no motive tn fabricate the                                           ....
Petitioner was IviuR. Durinp dnsiuR arpnments th^ proset.»tnr                        July nf ?009. D.f.nH.nt
Shows up with his paperwork, divorr. visitation n.rtndy, child                  it'.           The., w...

AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                                Page 29 of44
 issues. Valerie signed it". Further stating "There's no evidence oF anv issue with visitation, no issue with

 custodv. no issue reallv going on at that point in time. Julv to sometime in August." and "Anv evidence

 whatsoever that there's real issue going on with the divorce or custodv at that point in time? No."('T3.183-

 184'). However, in no wav does this reflect the evidence as Valerie testified on direct that she wasn't OK

 with the divorce and custody agreement and didn't agree with it. The onlv reason she signed it was
 because the Petitioner threatened to "...take FH.D.T from me if! didn't and so I signed it so FH.n.l cniilH

 live with me..." and "rPetitionerl would bring up the adultery and the drug use and—and I-I didn't want
 to lose my baby so I [ust signed the parier."fT3.59-60t. The prosecutor also has knowledge that Valerie
 testified that she would "do anything including periurv" to keep Petitioner from gaining custodv rT1.77.^
 By_yalerie's own admission, she gave petitioner problems with visitation (T3.145'l.
          _The Prosecutor argued in closing that Valerie is neither an adulterer nor a liar, stating: "Woman
 scorned? Where's the evidence? Drunken, drug abusing, affair-having liar? Where's the eviriennR? Th^
 only evidence that you have of—reallv anv of that is the Defendant telling vou that."m.l 851. Later
 stating "...affair-having liar? No fvidence."m.19nY However Vnl.Hr. was imnenched three f31
^imes and the prosecution knew of at least ten OO) other                 nf periurv"      well as the Fnct thpt
Valerie admitted to committing adultery (T1.60VT3.55.? IQ)
         . Dunng closing arguments, the State contended          .ypu heard         sav. 'has »nvnn^ .1..
touched yon like this? Anyone ever touch vou in a wav that's not okav?' She Hid. .-jhR
that.-YT3.2Ifi1. Thi.-; statemnnt, while accurate on its face, i. fhp regurgitatinn nf perjured testimnnv Tn fh.
video interview, the only question ever asked ofH.D. was           vpurdad done this to anvnne
         Q"           arguments, the State armied "Tell m. nn. Hn,. p.^tionerl ..iH 'T f.l. .
.to my family. [ felt a responsibility to my dnufhter.' Wh.n Hirf h. t,ii v„„                               xw
once. fT3.19Ql. This is ablatant and willful misstatement ofth^ evidence as the Petitioner r.le^rlv
that he had a re.pnnsibility not only tn his Mann.,                , fan^iiv a. w.ll P.Htioner .ven
testified that these responsibilities conflicted CTj.l \f,\

  See lAAC Sub Claim V(C) "Prosecutorial Misconduct" Pgs.43-50
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                Page 30 of44
  V,     The state court's determination of the facts that the prosecutors did not mislead the jury about the

evidence that was is objectively unreasonable and belied bv the record as presented in the post-conviction

relief courts as morefullv set forth and established in the Br. Supp at paizes 35-36.


FACT 2: The prosecution stated as uncontroverted fact that the Petitioner and his witnesses were
        Iving. that H.D. was telling the absolute truth, that H.D. was definitely sexuallv abused,
           and that the Petitioner was definitely the abuser. (See supporting brief Pg.36 for
           argument and citation)

         During closing arguments, the State improneriv said that the Petitioner was Iving bv stating:
"rValeriel is a drunken, pill popping liar" and then "Fthis testimony] wasn't true. It didn't happen. It

wasn't an issue.'YTS.l 85-1861.


  ii-    The State blatantly said that in order to believe H.D. and Valerie were liars, vou must believe
H.D. wasn't abused. Further stating "FH.D.'sl not lving"(T3.215V

         The State said that there "was no questinn. ri-I.D.1 was sexuallv abused"m.l88^ in contradictinn
to the evidence presented bv Dr. Waters (T1.21-22VT3.144V

         IThe prosecutor said that the evidence that H.D. was sexuallv abused is "uncontroverted"
rT3.19Q') inanother contradiction to the testimony of Dr. Waters fT1.21-22¥T3.144V

        The prosecutor stated: "fH.D.1 was sexuallv abused. She didn't fall down."fT3.2]51 when the
evidence was not conclusive of abuse.

        The Prosecutor stated "...it doesn't change the fact that FPetitionerl has .sexii.ilv .H.kpH hie

daughter"fT3.212). relieving the iiirv ofdetermining this "fafrt" For themselve.s
        The Prosecutor stated: "fPetitioner'sl guilty ofthis. anH 1ask that vnii find him sn.'YTl 710)
vin.    The state court's determination of the facts that the prosecution did not make improper remarks
IS objectively unreasonable in light of the evidence in the record and presented to the post-conviction
relief courts as more fully set forth and established in the Br. Supp at pages 36-37

FACT 3: The prosecutinn knowinpiv allowed                    fn lie about evonts surround..... disdnsm-f.
          Valerie s dru^ nse her willingness to lie anri taw enforcement as a wt>nnnn .anin,>
          Petitioner, and mask Valerie's motive to fabricate    (See supporting brief Pg.37 for
          argument and citation)                                                    i-i   b     «=• i-g-J lor

AO 241 Petrition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                             Page 31 of44
    i-   Valerie Dyer testified that she picked up H.D. from Petitioner's home the nieht disclosure was
 made [Jan,3. 20101('T3.72"). She further testified that she went to the police to report the abuse "the next
 daY."[Jan.4. 2010irT3.84). However, police reports, affidavits, and prior testimony, prove that no police
 report was made until Jan.8. five (5) davs after H.D. left Petitioner's home TSee Attachment B at section

 (IXA)). The State made no attempt to elicit the truth fi"om its witness on this matter and was well aware
 that It was fabricated as the prosecutor was in possession oFthp evidence presented in Attachment R. Thk
 testimony is material as it proves that the alleged disclosure did not take place on the date or in the
 manner that was allppsH

         Valerie testified that she hadn't discussed the sexual abuse with H.D. since disclosurefT3.9l-92V
 However, the State recorded Valerie previouslv stating that H.D, pave "explicit" details to Valerie .ihn.it
 the abuse and that Valerie "interviewed" H,D numerous timP,., The State knew that this te^timnny w..
 .untrue as the recorded conversation was recorded bv the State fSee Attachment R-?.Y Tt was material      if
 proved that Valerie pave fplse testimony concerning her discussions with H.D. This mislead the inrv inm
 behevmg that Valerie hadn tspoken to H.D. about the alleged crime, increasing the credibility of H.D as
well as removing Valerie rs apossible peroetrator of rna^hing RD. n. .he had nn r^pportunitv if nn
discussions took placp.

                           attempted tn show that Valerie wanted tn he in . relationshin with
when she found out he was with Amanda [Dec. ?,finQ1 showing . n^ntiv. for the                   tn
charges. Valerie testified "T didn't want to he with him h.,t [was still in Inye with hin." (T^ no)
However, the State recorded V.l.rie stating that she was                     leamins. P..tit;.n.r
Amanda and emotinnnlly            still wanted to he with you!" The St.te l.n.w .ftKi. ........
as the State recorded it fSee Attachment B-21. This false testimony i. m.t.n.l .c it niisl..H tl..
                                                           charges because . . .

for ieavmg her and she didn't even want be in arelatir^nshin with h^r



AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                           Page 32 of 44
   'V-   Valerie testified that she volunteered the information to Petitioner thnt she had committpH
 adultery (13.551. When asked if she denied the relationship to the Petitioner at first. Valerie flnswprpH
 "No'YT3.119). This is contrary to truth as Valerie Dreviouslv testified that she denied it "mavbe an
 hour"(T1.69X The same prosecutor was present during both testimonies and failed to correct it. This fake
 testimony is material as it goes to Valerie's credibility and the iurv's perception ofher truthfulness. The
 lury s perception of hertruthfulness is likelv what the iurv'sdecision relied upon.

         Vaierie testified that she had "only did the drugs that one time and I told rPetitinnerl.'YTS.l \ IV
 However, Valerie previously admitted to leaving H.D. at multiple residents while doing drugs fTl              and
 therefore must have used drugs multiple times. The same prosecutor was present for both testimnnip<!
 failed to elicit the truth. The defense theory was that VnlRrig was adrug addict that n-ieri her daughter tn
 wm a custody battle. The jury only hearini^ that Valerie ii.^d drugs once, undermined the
 credibility with the lurv and was taken into deliberation with them

         When the defense attempted to question Valerie abont fpstimonv she had never piv^n
 concemina disclosure about HD. complaining of her Vagina hi.m.ing and Valeria getting something tn
 stop the buminr. Valerie replied "1 never said that". The defense tried ,n            b,.t sh.
 No. Isaid sit down in the bathtub and maybe it would stnn hurting.'YTTTSl The fact, hnwever. is; th^t
Valerie had previously testified d.irinR direct that HH. complained nf her vagina b.,m;np v.u..-.
offered to ,et something for it: "...ril-l'll get you something for it not         7.) t.;.
was improvised by Valerie durinp direct examination and ..he haH                jt hv .ro.. Th.
made no attempt to eiicit the truth which did not bring to the attention nf tl.. jnrv that Val.n. w..
her te.stimonv up "on the fiv"

                                                                  Valerie'. „n.l, n^akin. nnw„n„H

                                                              Marine Com.


                                                                 into the Dver hnm,                     ... -

                                                                                                           _




                                                               was                        r--"-'-- - •          -
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §22S4                            Page 33 of44
  fT1.62| The State was aware ofthis false testimony and it completely hindered the defensift in hnnpinf»
  forward information that Valerie had heen molested bv her uncle when she was a minor. This wm.lH Hp.
  presented to the jury a reason that Valerie used the .ppr.jfic charge nf chiid molestation tn
  Petitioner as she had experienced it herself and knew what should Hr said from achild's stanHpnint in
  order to coach H.D. Further, it masked the fact that Valerfp w.. .ftemnting to                  it anne^r .s if
  Petitioner did not want her to have contact with her family wh^n it was actually her own denisinn

  """•            testified that upon mpyinp back to Oklahoma in Sep. 20HS. Petitioner "wnnlHn-, ..ll
  much" and never attempted to sp.ak to HPfTMH) At a previous trial
  guestion bv this exact prosecutor Vnlnrie t.stifierl th.t Petitioner call.H ".11 .h.          said n.thi.., .f
  his reluctance to speak to H-D When asked "Hid hMalk and                          with H.n .fthk          ...
                                                                    as it misleaH                  K.,,,,
 the Petitioner had no emotioT^nl ronnrrtinn or r.rr- fnr his daughter anH fhn.         .jkelv fn ..vn.U.
 her.


                                                                 demeanor.

                                                                   was Picked „n ,H„, » n

                                                                 wh..                            ..r-
                                                                           testimony nrnv.,

                                                                 she wa.                                    „p
                                                                            home and neve.




                                                                                      nresen.           ,„. ....



                                                                                          the                 ,...


                                                                           Petitioner... hnn,. ,h, ....

                                                                           false testimony .H„.           .• ••




                                                           and testimony          n
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                                 Page 34 of44
            Valerie testified that in 2003. while livinp in TN.. her marriage and PetittrmRr's frparmpnf nf h^r
    was bad because, "H.D. was in the way. rPetitinnerl said, to dn what he wanted In dn"mi7)
    Previously, however, Valerie testified that the first time she ever hfard a cnmniBnt like tliis was in ,.rh,
    2009, six f6) years later fTl ,29). The failure of the State to elicit the truth on this matter hid from the i.m,
    the fact that it was false testimony. This effected the iurv's determination nf r.redibilitv and »llow,d tl,.m
    to deliberate with the false impression that Petitioner felt no hond to his daughter but rather nn anno.,.n..
                              'ha' she never attempted to u.sc law enforcement tn have Petitioner a,r,sf,ri „(>„
    the sexual abuse alle,aliens m 147-1481 Thi. is bhtnnt. provable neriurv Valerie
    the police that Petitioner was stalkinp her, vandalized her mr h..ie. hiiacked her e-mail, and had Mm
    mongly arrested on aprnteetive order violation, all while he was on hail for the .eyual abnse eh.r„..i'
    The State had this informatinn as well as , ronveration that the .State recorHeH T„ne 10,h 7ni I l„
    Valerie admitted to tellina police that Petitioner slashed her tires but failed to ,ell ,1,,
 learned that she had '^imifemoMmet^^                                   B-21. This testimon,, I. material it 1.1.
                                                                           tn falsely

 SLate did not elicit the
                                                                blatantly lied to them

                                                                         second time in 2m, .nH m.H.




                                                                                                         ,       ,


                                                                                        unable to denlnv

                                                                             H.D.. and ,hat sh.


                                                                         testimony allnweH              .•




2                                                                          n"                      AtlrimmUk
                        ayi-f andl6 •2011 for vandalism as well as May 24'\ 2011 for stalking)
AO 241 Petitior, for aWrit ofHabeas Carpus Uttder 28 U.S.C. §2254                                Page 35 of44
believe that the Petitioner used his family to meet whatever purpose he might see fit as well as painting
the Petitioner as a coward.

xiii.   Valerie testified that she never told Charles that she would lie if she had to in order to keep
custody of H.D.(T3.149-1501. However, when asked by the same prosecution at the first trial if Valerie

told Petitioner she "would lie if FII had to keen rH.D.l". Valerie replied "Yes" fTl.381. This is material

because it removed from the lurv's determination Valerie's untruthfulness and willingness to lie in court

to win the custody battle against Petitioner.

'^iv.   At trial. Valerie denied repeatedly that Petitioner was H.D.'s primary caresiver in Tennessee
CD-I 13-114). However. Valerie previously testified that Petitioner was, in fact the primary caretaker at
this time.and admitted that she had mislead the lury of the first trial about this subject when she had
denied it fTl.64"). The State's failure to elicit the truth effected the iurv's determination of Valerie's

truthfulness and the fact that Petitioner did, in fact, assume the roles of a father, contrary to Valerie's
assertion.


        The State asked forensic interviewer. Jessica Tavlor. if H.D. was able to describe Petitinnftr'Q

"wiener" to which she renlied. "Yes, she was.'YT3.461 However. H.D. never described Petitioner'^ peni^
many way during the forensic interview. The iurv took this false te-;timony into deliberation and nn Hnnht
used it as corroboration because H.D. was able to specificallv describe details about PetiHonfir'^ pz-ni.
        Jessica Taylor stated: 'TH.n.l talked about her dad wnnld take soit from his month •;and he wnnlH
rub it onto his wiener before putting it inside of her bo-bn" nnd then reiterated again that her
this to H.D.fT3.48). However, H.D, never made this statement as can be nroven bv reviewint? the fnrftndf'.
mterview. As argued in the previous paragraph, the jury took this false testimony into delibRraUnn anH nn
doubt used itas corroboration because H.D. was able to snecfficailv describe details ofa sflvnal
        Jessica Taylor states that she asked H.D. ifanyone other than the Petitioner had abused her anH
H.D. answered "No". She states that this is part of the "alternative hypothesis" procedure anH that Wn
was given the opportunity to answer this question fT3.55. 7S-79Y Thi. is completely false testimony as
Jessica never asks if anyone else had abused her and never offers opportunity to H.D. to verhaliyp »n
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254                             Page 36 of44
  "alternative hypothesis". The State knew tiiis was false and its failure to elicit the truth allnweH tlie iurv to
  believe that H.D. was given ample opportunitv tn name a riiffftrent susnect.

               The state court's determination of the facts that the prosecution did not knnwinclv allow
  witnesses to lie is Qbiectivelv unreasonable in light ofthe evidence in the record and nresentt^H tn thP pn.,.
  conviction relief courts as more fully set forth and established in the Br. Supp at oaees 36-.17.

                            Six: The District Court Allowed Improper Hearsay
 FACT 1: H.D. was declarctl an "Unavatlahle" witness under Oklahoma law hv the rii.frirt court
                   (See supporting brief Pg.39 for argument and citation)

        '•          the record reflects during Vnierie's testimony fT3.77y the court allowed he.nr..w             y
 because H.D. was ruled "Unavailable" as awitness under OklAhoma law.
 FACT 2: Under Oklahoma law, hearsay statements afn MUi ..nder 13 years nf at^e thai hnv. h.nn
               ^red unavailnh r" mav only ho admitted ifthere-corroborative Ju\cnco ofthe not'
                   (See supporting brief Pgs39 for argument and citation)
 FACT 3= ^"der Oldahoma law, the court is required to hold .                            state fe>r fh. .n.n.H
                particular facts and circnmstances sunporfinp ih^,.                that hearsay statempnf« nf
                                    sexual abuse are relufe (See supporting brief Pgs.40-41 for argument

 FACT 4: M.r Oklnhomn l,w,                          hn,r.ay               n,nv no. h.                           ...
                particulars of the statements are made kne^wn to the defense 10 davs in
               supporting briefPg. 39-40 for argument and citation)                         Y naavance. (Sec
 fact 5: H.n.'., I„;arsav testimnnv from Val.ri. Hv,. ..a, allnw.rt nv„ nhierlinn. .h.„.,h there i,
         no^rroboratinn anri the stalcments were nof mn,l. l,„own lo llie ilrfnnse nrior^n rri.l ~
   '•                                                             t" lestilV ah".it --^.^inent.       h„ Hn
Valerie onth. riay of                 fI2a.M)JMeriele..ifled that rn wh.n v„„;. ....h
Mth H.D upon hrinB picteH up si,.                  mnltipln time. "1 don', „a„,                      .„h
             °""                        cryinp; when amvinp home. H.D. simoosediv pavn these snmB
                                                                       do to her


                                                                    want her dad ,o . n .

LT3.75-76.7!)-801, fS1 and w-,. rnn.emed Valerie had lnld,others ofthe di.eln,„r. m


AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §2254
                                                                                                  Page 37 of 44
            The state court's determination of the facts that there was corroboration of the crime and that the

 statements were made known to the defense prior to trial is nhiectivelv imreasonable in light of the

 evidence in the record and presented to the post-conviction relief courts as more fiillv set forth and

 established in the Br. Supd at 42-4'i.



 FACT 6; The out of court forensic video was allowed without the snecific findings nf rcliahUitv or
              corroboration required bv law. (See supporting briefPgs.41 for argument and citation)
       '•   The State ofOklahoma concedes that the Court made no specific findings as required bv law^''

   "•       The state court's determination of the facts that there were snecific findings nf reliabilitv and
 corroboration of the crime is objectiveiv unreasonable in light nf the evidence in the record and prR^c.niP.d
 to the post-conviction relief courts as more fullv set forth and established in the Br. Supn at 40-4:^
 FACT 7: The testimony of forensic interviewer. .Tcssica Tavlor. was alloweH without sn^rifir
              _indings of reliabilitv, corroboration. or notice to the defense as required bv law. (See
             supporting brief Pg,42 for argument and citation)

   '•       Eofensic mterviewer Jessica Taylor testified to hearsav statements made to her during the video
  mterview with H.D. The Court should not have allnwed this teitimonv as it failed to malte a               nf

 particular facts and circumstances in which it found an indicia of reliabilitv as reniiired hv law. Had it
 held a hearing, it would have found that there was nn rt^ljabilitv in her testimony as ^he could nnt
 accurately recall what was said durinp the interview and gave perjured accounts nf said int^rviPw
 Specificaily, Tayior testified that H.D. described the Pet,-timer's penis, that H.D. slated that Petitioner
 "would take spit from his mnnth and he would rub it onto his wiener befnre pitting it inside nf h^r hn.
 bo", and that Taylor gave H.n th^ opportunity tn identify an alt^m.te abuser bv a.kinf. her if snm^nn.
 else touched her to which HD answered "no". However, all nfth,'. t.ct,-nionv is false         H.D. never .aid
 any ofthis. Additionally, the defense wa.s never Piven notice nfthe specifics nf her fe.stimnnv .n th.t it
 could prepare cmss-examinatinn




 'grsfS oZ':
page                                               To            MoU„„ To          . S„pplen,„. Pleadiog.
AO 241 Petition for aWrit ofHabeas Corpus Under 28 U.S.C. §2254                               Page 38 of44
         The state court s determination of the facts that there were specific findings of reliability.

  corroboration ofthe crime, and notice to the defense is obiectivelv unreasonable in light of the evidence
  in the record and presented to the post-conviction relief courts as more fullv set forth and           in

  the Br. Supp at 41-41



         Seven: The District Court Erred in Not Sustaining Defendant's
         Demurrer (Sub Claim) (See supporting briefPgs.43-45 for argument and citation)

 FACT 1; HP was unavailable as a witness and tlic forensic interview was imnroncrlv admitted at
           the first trial                                                                                  "


     '• At the trial in April 2011, the State presented its case in the form of testimony bv Valerie Dvpr,
 H.D., Jessica Taylor, Dr. Waters, and avideo forensic interview. HP. was unavailable as a witnR^^ Hi.p fn
her lack of memory of events fTl. 12-161. and the inability for the defense to cross examine her. Under
these circumstances, as per 1?. O.S. 28Q3.UAV2VhV the video fnransi. interview cannnt be shown fn th.
 jury unless "there is corrnhnraUve evidence ofthe act". Thnnph there is no cnrmboratinn in this       fh.
video was still presented tn the jury improperly. At the dose of the State's case, the only nroperlv
admitted material evidence was the testimony of HD. who Hpni.H ,l,at any ahnse r^ccuned at all. The.
Defense demurred tothe evidence and the court denied the demnrrftr
FACT 2: At the first trial, there was no evidence ofncrime committed nfher than the improperly aHmiitPH
video


              testified during the first trial that she didn't rememh^r anv sexual abuse ever nrmn-inp
Though the video interview was inadmissible without corrohnr^ting evidence, and none existed it w.c
played for the iiirv anvwav.




     KT
able to shore up holes in theirdefense's  demur. nllowin»
                                 cane, by fahricaMng        fnr «9"" and S"- trial in whirh tho
                                                     false tustimonv.                                .v.J

    '• ^here was nn evidence, properly Rdmitted. that           . crime KrH .y.n nr-curred. Hnw.v.r th.
court denied the defense's demwrrer to the evidence, allowing for ahun^ iurv and 2snh.e.,n.nt          in
AO 241 Petition for aWrit of Habeas Corpus Under 28 U.S.C. §22S4                           Page 39 of44
which the state was able to fabricate testimony to discredit the Petitioner and prohibit the iiip/ from

properly weighing the credibility of the witnesses. fSee Attachments A&B. see also sub claims three and
five")

FACT 3; The facts and evidence presented bv the state were identical at the third trial extent tliat
H.D. testified that she recalled the interview and testified that she was abused in a tent.


     J    If you did notexhaust your state remedies on Ground One, explain wliy; Exliausted
     k.       Direct Appeal of Ground One:
            (1)Ifyou appealed from the judgment ofconviction, did youraise this issue?       D Yes       ^ No
            (2) If you did not raise this issue in your direct appeal, explain why: This issue was not reviewable on
               Direct Appeal.
     1.   Post-Conviction Proceedings:
            (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial
               court?   ^    Yes    •   No
            (2) Type of motion or petition: Application for Post-convictionrelief under 22 O.S. S1080
            Name and location of the court where the motion or petition was filed: Stephens Countv District Court-
            Duncan. Oklahoma.

            Docket or case number: CF-201Q-17

            Date of the court's decision: October 22. 2014

            Result: The District Court denied the application bv summary order wilhout reviewing the evidence or
            arguments presented bv the Petitioner.

            (3) Did you receive a hearing onyour motion orpetition?                                  • Yes      K No
            (4) Did you appeal from the denial ofyour motion orpetition?                             Kl Yes     • No
            (5) Ifyour answer to Question (d)(4) is "Yes", did you raise this issue inthe appeal?    K! Yes     • No
            (6) If your answer to Question (d)(4) is "Yes", State:
            Name and location of the Court where the appeal was filed: Oklahoma Court of Criminal Appeals-
            Oklahoma City. Oklahoma.

            Docket or case number: PC-2015-512

            Date of court's decision: November 19. 2015

            Result: The District Court's denial was reversed on April 16. 2015 and remanded for further proceedings
            due to the factthat the lower court did not accept Petitioner's evidence as it should have when reviewing
            the application. The District Court denied the application once again and the Oklahoma Court of
            Criminal Appeals affirmed the denial,

            (7) If your answer to Question (d)(4) or Question (d)(5) is"No", explain why you did not raise this issue:
            Not Applicable




 AO 241 Petition for a Writ of Habeas Corpus Under 28 U.S.C. §2254                                    Page 40 of 44
  (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
you have usedto exhaust yourstate remedies on Ground One: Not Appiicable


  GROUND TWO: Petitioner's Trial Was Infected With Irrelevant Unfair, and Prejudicial Character Evidence
  (a) Supporting facts (Do not argue orcite law. Just state the specific facts that support your claim):
FACT 1: Petitioner's trial was infected with a plethora of inadmissible evidence from the
       state to simply show that the Petitioner was a bad nerson deserving of punishment.
       (See supporting brief Pgs.45-47 for argument and citation)

    (a) Throughout Valerie Over's testimony. Petitioner's characteris attacked with numerous comments

about his bad acts and vile treatment of his family. Valerie testified that Petitioner was angry about

Valerie "bringing a child into this world"(T3.26t. called H.D. "cancer in her stomach", punched Valerie

in the stomach and was disgusted at Valerie's pregnancy ("T3.25\ was distrusted at Valerie's pregnancy

(T3.25'l. faked being happy about havinga babvwhen around others(T3.27.31.35). only rubbed Valerie's

belly or talked to the babv once or twice during the pregnancy (T3.28'>. Petitioner refused to allow anv of

Valerie's family to come to the hospital during RD.'s birth because he didn't allow Valerie's family

access to the babv (T3.28-29').forced Valerie to move to IN. Because Petitioner was controlling and

didn't want Valerie's family around H.D. (T3.29-30'). refused to help with H.D.. refiised to hug or hold

H.D.. cussed Valerie (TS.Sl). was ansrv at Valerie for paving attention to H.D.. neglected H.D.

(T.3.32.38): Petitioner stated H.D. was in his way (T3.39.51-53): Petitioner had no interest in H.D..

controlled Valerie and didn't want her around her family, grounded Valerie for a week from the phone in

2001 (T3.40.44-47"). never called to speak to H.D. unless Valerie forced the issue (T3.48.52'l. and

Petitioner was upset that Valerie moved out of liis parent's home and refused to send money to she and

H.D. to help (T3.13.50").

     (b) Petitioner contends that almost all of this testimony is inconsistent with nrior statements and

evidence, i.e. letters written by Valerie (See Attachment B-13 which shows that it was Valerie who did

 not like her own family. Petitioner was a loving husband, and Valerie felt she was not a good wife).

 Skvpe messages (See Attachment B-14 which prove that Valerie lied about Petitioner stating that H.D,

 was in his way and leaving Valerie stranded in Oklahoma^, copies of bank statements (See Attachment B-


 AO 241 Petition for a Writ of Habeas Corpus Under 28 U.S.C. §2254                                     Page 41 of 44
7 which grove Valerie lied about Petitioner stranding her in Oklahoma with no money), and signed
re^ceipts of child sunnort bv Valerie fSee Attachment B-6 which tiroves Valerie lied about Petitioner not
helping fmanciallvl. Also See Attachment Bwhich oroves that Valerie gave false testimony concemmg
many of these acts,



   (b) Ifyou did not exhaust your state remedies on Ground One, explain why: Exhausted
   (c)      Direct Appeal of Ground Two:
          (1)Ifyouappealedfromthejudgmentofconviction,didyouraisethisissue? K Yes                       • No
          (2) Ifyou did not raise this issue in your direct appeal, explain why: Not Applicable
   (d) Post-Conviction Proceedings:
          (1) Did you raise this issue through apost-conviction motion or petition for liabeas corpus in astate trial
              court? K Yes        •   No
           (2) Type ofmotion or petition: Application for Post-conviction relief under 22 O.S, S1080
           Name and location of the court wliere the motion or petition was filed: Stephens County District Court-
           Duncan. Oklahoma.

           Docket or case number: CF-2010-17

           Date of the court's decision: October 22. 2014

           Result: The District Court denied the application bv summary order without reviewing the evidence or
           arguments presented bv the Petitioner,
           (3) Did you receive ahearing on your motion or petition?                                 Yes ^ No
           (4) Did you appeal from the denial ofyour motion or petition?                          ^ Yes O No
           (5) Ifyour answer to Question (d)(4) is "Yes", did you raise this issue in the appeal? K Yes • No
           (6) If your answer to Question (d)(4) is "Yes", State:
           Name and location of the Court where the appeal was filed: Oklahoma Court of Criminal Appeals-
           Oklahoma City. Oklahoma.

           Docket or case number: PC-2015-512

           Date of court's decision: November 19.2015

           Result: The District Court's denial was reversed on Aaril 16. 2015 and remanded for further proceedings
           due to the fact that the lower court did not accept Petitioner's evidence as it should have when reviewing
           the application. The District Court denied ihe application once again and the Oklahoma Court of
            Criminal Appeals affirmed the denial.

            (7) If youranswer to Question (d)(4) or Question (d)(5) is "No", explain why you did not raise this issue:
            Not Applicable

   (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that
  you have used to exhaustyour stateremedies on Ground Two: Not Applicable



  AO 241 Petition for a Writ of HabeasCorpus Under 28 U.S.C. §2254                                     Page 42 of 44
13, Please answer these additional questions about the petition you are filing:
  (a)       Have all grounds for relief that you have raised in this petition been presented to the highest state court
            havingjurisdiction?      ^ Yes      O No
            If your answer is "No", state which grounds have not been so presented and give your reason(s) for not
            presenting them: Not Applicable


  (b)        Is there any ground in this petition that has not been presented in some state or federal court? Ifso, which
             ground or grounds have not been presented, and state your reason for not presenting them: No

14. Have you previously filed any type of petition, application, or motion in a federal court regarding the
        conviction that you challenge in this petition? • Yes      Kl No

 15. Do you have any petition or appeal now pending in any court, either state or federal, for the judgment you are
        challenging?    • Yes      S No

 16. Give the name and address, if you know, ofeach attorney who represented you in the following stages ofthe
        judgmentyou are challenging;
        (a)Atpreliminary hearing: David Hammond (Address unknown)
        (b) At arraignment andpleaDavid Hammond (Address unknown)
        (c) At trial: 1" trial David Hammond/ 2"'' trial Albert Hoch/ 2'^ trial Albert Hoch (Address unknown)
        (d)Atsentencing: Albert Hoch (Address unknown)
        (e) On appeal: Robert Jackson (Address unknown)
        (f) In any post-conviction proceeding: N/A
        (g) On appeal from any ruling against you in a post-conviction proceeding: N/A

  17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
         challenging?   • Yes       ^ No

  18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must
         explain why the one-year statute of limitations as contained in 28 U.S.C. §2244(d) does not bar your petition.
         Petitioner's 365 dav time limit beean on January 28. 2014 which was 90 days after direct appeal
         denial to the state's highest court. Petitioner had absolutely no access to a law library at this point
         and began requesting access but was denied repeatedly. On April 24. 2014 Petitioner was left with
         278 days remaining and filed a crude Post-conviction application in order to stop the federal clock.
         On November 19. 2015 his Post-conviction proceedings became final, leaving him until Tuesday.
         August 23. 2016 until his federal tolling runs out. The Petitioner has been extremely diligent in



  AO 241 Petitionfor a Writ of Habeas Corpus Under 28 U.S.C. §2254                                       Page 43 of 44
    Dursumg    his rights to ?ppe.3l his conviction and is -itill within his nne year limit considering toilins
     circumstances.




     Therefore, Petitioner asks that the Court issue awrit of Habeas Corpus for his immediate release, remand to
the state of Oklahoma for further proceedings, or any other reliefto which petitioner may be entitled,


                                                                                                petitioner

                                                                           P.O. Box 260
                                                                           Lexington, Oklahoma 73051



                                                   VERIFICATION


 Ideclare under penalty ofpenury that the foregoing is true and correct and that this Petition for Wnt ofHabeas
 Corpus was placed in the prison mailing system on this // day of Avsf ,2016 to the followmg addresses:

 Court Clerk
 U.S. Courthouse
 200 NW4'^ St, Rm 1210
 Oklahoma City, Oklahoma 73102




                                                                                          nature of Petitioner




                                                                                                         Page 44 of 44
   AO 241 Petition for a Writ of Habeas Corpus Under 28 U.S.C. §2254
